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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DivlsioN
UNITED sTATEs oF AMERICA )
)
v. ) CR 117~034
)
REALITY LEIGH wINNER )
oRDER

The Court GRANTS Defendant’s Motion for Conference with Expert. (Doc. no.
208.) As defense counsel is aware, Defendant is permitted to meet with members of her
defense team at the Augusta Federal Courthouse so long as sufficient notice is provided to
appropriate law enforcement officials. The Court has not been previously involved in
scheduling Defendant’s meetings with her defense team, and there is nothing to suggest that
motions are required for Defendant to continue with current scheduling practices

SO ORDERED this 22nd clay of January, 2018, at Augusta, Georgia.

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BRIAN K. EPl>S
UNITED sTATES MAGISTRATE JUDGE
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